       Case
       Case3:07-cv-05944-SC
            3:07-cv-05944-JST Document2866-2
                               Document 2909 Filed
                                             Filed09/22/14
                                                   10/10/14 Page1
                                                            Page 1of
                                                                   of33



 1

 2

 3

 4

 5

 6

 7

 8

 9
10
                                 UNITED STATES DISTRICT COURT
11
                    NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO
12

13
     IN RE: CATHODE RAY TUBE (CRT)                 Master File No. 3:07-cv-05944-SC
14   ANTITRUST LITIGATION                          MDL No. 1917

15   ___________________________________           The Honorable Samuel Conti

16   This Document Relates to:                     Individual Case No. 3:14-cv-02510

17                                                 [PROPOSED] ORDER GRANTING
                                                   VIEWSONIC CORPORATION’S
18   ViewSonic Corporation v. Chunghwa             ADMINISTRATIVE MOTION TO FILE
     Picture Tubes, Ltd. et al., No. 14-cv-02510   UNDER SEAL PURSUANT TO CIVIL
19                                                 LOCAL RULES 79-5(d) AND 7-11

20

21

22

23

24

25

26

27

28
                                                                        [PROPOSED ORDER GRANTING
                                                                  ADMIN. MOTION TO FILE UNDER SEAL
                                                                    MASTER FILE NO. 3:07-CV-05944-SC
     DCACTIVE-29154467.1
       Case
       Case3:07-cv-05944-SC
            3:07-cv-05944-JST Document2866-2
                               Document 2909 Filed
                                             Filed09/22/14
                                                   10/10/14 Page2
                                                            Page 2of
                                                                   of33



 1
             Upon consideration of ViewSonic Corporation’s Administrative Motion to File Under
 2
     Seal Pursuant to Civil Local Rules 79-5(d) and 7-11, submitted in connection with its Opposition
 3
     to the Panasonic Defendants’ Motion to Dismiss and to Compel Arbitration, it is hereby
 4
     ORDERED that the motion is GRANTED. The Clerk shall file and maintain under seal the
 5
     following documents or portions of documents:
 6
     Document                                            Sealed Portions (Page:Line)
 7   ViewSonic Corporation’s Opposition to the           The highlighted portions of 2:5-8, 2:10-2:14,
 8   Panasonic Defendants’ Motion to Dismiss and         2:15-2:19, 2:23, 3:1-2, 3:8-21, 4:1-19, 4:22-
     to Compel Arbitration                               27, 5:15-19, 5:21-23, 6:1-22, 7:17-19, 7:22-27,
 9                                                       8:2-11, 8:13-15, 9:3-4, 9:26-27, 10:20, and
                                                         10:24-25.
10
                                                         The highlighted portions of footnotes 1, 3, 4,
11
                                                         7, and 8.
12   Declaration of Astor H. L. Heaven in Support        1:14-16, and the highlighted portions of 1:18,
     of ViewSonic Corporation’s Opposition to the        1:20, 1:21, 1:23, 1:24, 1:25, 1:26, and 1:28.
13   Panasonic Defendants’ Motion to Dismiss and
     to Compel Arbitration
14   Declaration of Bonny Cheng in Support of            Entire Document
15   ViewSonic Corporation’s Opposition to the
     Panasonic Defendants’ Motion to Dismiss and
16   to Compel Arbitration
     Exhibit A to the Declaration of Astor H. L.         Entire document
17   Heaven in Support of ViewSonic Corporation’s
     Opposition to the Panasonic Defendants’
18   Motion to Dismiss and to Compel Arbitration
19   Exhibit B to the Declaration of Astor H. L.         Entire document
     Heaven in Support of ViewSonic Corporation’s
20   Opposition to the Panasonic Defendants’
     Motion to Dismiss and to Compel Arbitration
21   Exhibit C to the to the Declaration of Astor H.     Entire document
     L. Heaven in Support of ViewSonic
22
     Corporation’s Opposition to the Panasonic
23   Defendants’ Motion to Dismiss and to Compel
     Arbitration
24   Exhibit D to the to the Declaration of Astor H.     Entire document
     L. Heaven in Support of ViewSonic
25   Corporation’s Opposition to the Panasonic
26   Defendants’ Motion to Dismiss and to Compel
     Arbitration
27   Exhibit E to the to the Declaration of Astor H.     Entire document
     L. Heaven in Support of ViewSonic
28
                                                                              [PROPOSED ORDER GRANTING
                                                   -1-                  ADMIN. MOTION TO FILE UNDER SEAL
                                                                          MASTER FILE NO. 3:07-CV-05944-SC
     DCACTIVE-29154467.1
       Case
       Case3:07-cv-05944-SC
            3:07-cv-05944-JST Document2866-2
                               Document 2909 Filed
                                             Filed09/22/14
                                                   10/10/14 Page3
                                                            Page 3of
                                                                   of33



 1   Corporation’s Opposition to the Panasonic
     Defendants’ Motion to Dismiss and to Compel
 2   Arbitration
 3   Exhibit F to the to the Declaration of Astor H.     Entire document
     L. Heaven in Support of ViewSonic
 4   Corporation’s Opposition to the Panasonic
     Defendants’ Motion to Dismiss and to Compel
 5   Arbitration
     Exhibit G to the to the Declaration of Astor H.     Entire document
 6
     L. Heaven in Support of ViewSonic
 7   Corporation’s Opposition to the Panasonic
     Defendants’ Motion to Dismiss and to Compel
 8   Arbitration
 9
10   IT IS SO ORDERED.

11
             10/7/2014
     Dated: _____________
12                                                Hon. Samuel Conti
                                                  United States District Judge
13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                                                             [PROPOSED ORDER GRANTING
                                                   -2-                 ADMIN. MOTION TO FILE UNDER SEAL
                                                                         MASTER FILE NO. 3:07-CV-05944-SC
     DCACTIVE-29154467.1
